Filed 02/14/19                         Case 17-13797                               Doc 1101



                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES
           _____________________________________________________________________
           Case Title: Tulare Local           Case No.: 17-13797 - B - 9
           Healthcare District
                                              Docket Control No. WW-73
                                              Date: 02/14/2019
                                              Time: 9:30 AM

           Matter: [1007] - Motion/Application for Order Authorizing
           Rejection of Master Agreement [WW-73] Filed by Debtor Tulare Local
           Healthcare District (jflf)

           Judge: René Lastreto II
           Courtroom Deputy: Debbie Chavez
           Reporter: Electronic Record
           Department: B
           _____________________________________________________________________
           APPEARANCES for:
           Movant(s):
           Debtor's Attorney - Riley C. Walter
           Respondent(s):
           None
           _____________________________________________________________________
                                       CIVIL MINUTES




           Motion Granted


           Based on the representations of counsel, the motion was granted.
           Mr. Walter to submit a proposed order. Roche Diagnostics to approve
           the order.
